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                                 UNITED STATES BANKRUPTCY COURT
                                  EASTERN DISTRICT OF LOUISIANA

   _______________________________________
                                                        )
   IN RE:                                               )       Chapter 7
                                                        )
   William A. Demmons                                   )       Division B
   Karen S. Fowler                                      )
                                                        )       Case No. 14-11638
               Debtors.                                 )
   ______________________________________               )
                                                        )
   William A. Demmons and                               )
   Karen S. Fowler                                      )
                                                        )
                   Plaintiffs,                          )       Adversary Proceeding
                                                        )       No. 15-1024
   vs.                                                  )
                                                        )
   R3 Education Inc.                                    )
   dba Saba University School of Medicine, et al.,      )
                                                        )
               Defendants.                              )
   _______________________________________              )

       ANSWER OF DEFENDANT, DEUTSCHE BANK NATIONAL TRUST CO. TO
    PLAINTIFFS’ COMPLAINT AND FIRST AMENDED COMPLAINT TO DETERMINE
                   DISHARGEABILITY OF STUDENT LOANS


            Now comes Defendant, Deutsche Bank National Trust Co. (hereinafter referred to as

   “Defendant”), by and through counsel, and hereby denies each allegation set forth in Plaintiffs’

   Complaint to Determine Dischargeability of Student Loan unless specifically admitted herein

   and further answers as follows:

            1.     Defendant admits the allegations contained in paragraph one (1) of Plaintiffs’

   Complaint.

            2.     Defendant admits the allegations contained in paragraph two (2) of Plaintiffs’

   Complaint.
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          3.     Defendant denies the allegations contained in paragraph three (3) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          4.     Defendant denies the allegations contained in paragraph four (4)(i-iv) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 4.1(i-iii) of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

          5.     Defendant denies the allegations contained in paragraph five (5) of Plaintiffs’

   Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 5.1 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge

          6.     Defendant admits the allegations contained in paragraph six (6) of Plaintiffs’

   Complaint.

          7.     Defendant admits the allegations contained in paragraph seven (7) of Plaintiffs’

   Complaint.

          8.     Defendant admits the allegations contained in paragraph eight (8) of Plaintiffs’

   Complaint.

          9.     Defendant denies the allegations contained in paragraph nine (9) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          10.    Defendant denies the allegations contained in paragraph ten (10) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          11.    Defendant denies the allegations contained in paragraph eleven (11) of Plaintiffs’

   Complaint for want of sufficient knowledge.
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          12.    Defendant denies the allegations contained in paragraph twelve (12) of Plaintiffs’

   Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 12.1 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 12.2 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 12.3 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

          13.    Defendant denies the allegations contained in paragraph thirteen (13)(i-viii) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          14.    Defendant denies the allegations contained in paragraph fourteen (14)(i-ii) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          15.    Defendant denies the allegations contained in paragraph fifteen (15) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          16.    Defendant denies the allegations contained in paragraph sixteen (16) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          17.    Defendant denies the allegations contained in paragraph seventeen (17) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          18.    Defendant denies the allegations contained in paragraph eighteen (18) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          19.    Defendant denies the allegations contained in paragraph nineteen (19) of

   Plaintiffs’ Complaint for want of sufficient knowledge.
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          20.     Defendant denies the allegations contained in paragraph twenty (20) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          21.     Defendant denies the allegations contained in paragraph twenty-one (21) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          22.     Defendant denies the allegations contained in paragraph twenty-two (22) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          23.     Defendant denies the allegations contained in paragraph twenty-three (23) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          24.     Defendant denies the allegations contained in paragraph twenty-four (24) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          25.     Defendant denies the allegations contained in paragraph twenty-five (25) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          26.     Defendant denies the allegations contained in paragraph twenty-six (26) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          27.     Defendant denies the allegations contained in paragraph twenty-seven (27) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          28.     Defendant reincorporates its responses contained in paragraphs one through

   twenty-seven (1-27).

          29.     Defendant denies the allegations contained in paragraph twenty-nine (29) of

   Plaintiffs’ Complaint.

          30.     Defendant denies the allegations contained in paragraph thirty (30) of Plaintiffs’

   Complaint for want of sufficient knowledge.
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          31.     Defendant denies the allegations contained in paragraph thirty-one (31) of

   Plaintiffs’ Complaint.

          32.     Defendant denies the allegations contained in paragraph thirty-two (32) of

   Plaintiffs’ Complaint.

          33.     Defendant denies the allegations contained in paragraph thirty-three (33) of

   Plaintiffs’ Complaint.

          34.     Defendant reincorporates its responses contained in paragraphs one through

   thirty-three (1-33).

          35.     Defendant admits the allegations contained in paragraph thirty-five (35) of

   Plaintiffs’ Complaint.

          36.     Defendant denies the allegations contained in paragraph thirty-six (36) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          37.     Defendant denies the allegations contained in paragraph thirty-seven (37) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          38.     Defendant denies the allegations contained in paragraph thirty-eight (38) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          39.     Defendant denies the allegations contained in paragraph thirty-nine (39) of

   Plaintiffs’ Complaint.

          40.     Defendant reincorporates its responses contained in paragraphs one through

   thirty-nine (1-39).

          41.     Defendant admits the allegations contained in paragraph forty-one (41)(A)(i-ii)

   and (B) of Plaintiffs’ Complaint.
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          42.      Defendant denies the allegations contained in paragraph forty-two (42) of

   Plaintiffs’ Complaint.

          43.      In response to paragraph forty-three of Plaintiffs’ Complaint, Defendant denies

   that the Student Loans were not an educational benefit but admits that a governmental unit was

   not involved.

          44.      Defendant denies the allegations contained in paragraph forty-four (44) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          45.      Defendant denies the allegations contained in paragraph forty-five (45) of

   Plaintiffs’ Complaint.

          46.      Defendant denies the allegations contained in paragraph forty-six (46) of

   Plaintiffs’ Complaint.

          47.      Defendant denies the allegations contained in paragraph forty-seven (47) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          48.      Defendant denies the allegations contained in paragraph forty-eight (48) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          49.      Defendant denies the allegations contained in paragraph forty-nine (49) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          50.      Defendant denies the allegations contained in paragraph fifty (50) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          51.      Defendant denies the allegations contained in paragraph fifty-one (51) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          52.      Defendant denies the allegations contained in paragraph fifty-two (52) of

   Plaintiffs’ Complaint for want of sufficient knowledge.
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          53.      Defendant denies the allegations contained in paragraph fifty-three (53) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          54.      Defendant denies the allegations contained in paragraph fifty-four (54) of

   Plaintiffs’ Complaint.

          55.      Defendant denies the allegations contained in paragraph fifty-five (55) of

   Plaintiffs’ Complaint.

          56.      Defendant denies the allegations contained in paragraph fifty-six (56) of

   Plaintiffs’ Complaint.

          57.      Defendant denies the allegations contained in paragraph fifty-seven (57) of

   Plaintiffs’ Complaint.

          58.      Defendant denies the allegations contained in paragraph fifty-eight (58) of

   Plaintiffs’ Complaint.

          59.      Defendant reincorporates its responses contained in paragraphs one through fifty-

   eight (1-58).

          60.      Defendant denies the allegations contained in paragraph sixty (60) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          61.      Defendant denies the allegations contained in paragraph sixty-one (61) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          62.      Defendant denies the allegations contained in paragraph sixty-two (62) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          63.      Defendant denies the allegations contained in paragraph sixty-three (63) of

   Plaintiffs’ Complaint for want of sufficient knowledge.
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          64.     Defendant denies the allegations contained in paragraph sixty-four (64) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          65.     Defendant reincorporates its responses contained in paragraphs one through sixty-

   four (1-64).

                  Defendant denies the allegations contained in paragraph 65 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 65.1 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

          66.     Defendant denies the allegations contained in paragraph sixty-six (66) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          67.     Defendant denies the allegations contained in paragraph sixty-seven (67) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          68.     Defendant denies the allegations contained in paragraph sixty-eight (68) of

   Plaintiffs’ Amended Complaint for want of sufficient knowledge.

          69.     Defendant denies the allegations contained in paragraph sixty-nine (69) of

   Plaintiffs’ Amended Complaint for want of sufficient knowledge.

          70.     Defendant denies the allegations contained in paragraph seventy (70) of Plaintiffs’

   Complaint for want of sufficient knowledge.

          71.     Defendant denies the allegations contained in paragraph seventy-one (71) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          72.     Defendant denies the allegations contained in paragraph seventy-two (72) of

   Plaintiffs’ Complaint for want of sufficient knowledge.
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          73.    Defendant denies the allegations contained in paragraph seventy-three (73) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          74.    Defendant denies the allegations contained in paragraph seventy-four (74) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          75.    Defendant denies the allegations contained in paragraph seventy-five (75) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          76.    Defendant denies the allegations contained in paragraph seventy-six (76) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

                 Defendant reincorporates its responses to paragraphs 1 through 76.1 of Plaintiff’s

   Amended Complaint.

                 Defendant denies the allegations contained in paragraph 76.2 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 76.3 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 76.4 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 76.5 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 76.6 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                 Defendant denies the allegations contained in paragraph 76.7 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.
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                  Defendant denies the allegations contained in paragraph 76.8 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

            77.   Defendant denies the allegations contained in paragraph seventy-seven (77) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 77.1 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 77.2 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 77.3 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

            78.   Defendant denies the allegations contained in paragraph seventy-eight (78) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

                  Defendant reincorporates its responses contained in paragraphs 1 through 78

   above.

                  Defendant denies the allegations contained in paragraph 78.2 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.3 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.4 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.5 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.
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                  Defendant denies the allegations contained in paragraph 78.6 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.7 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.8 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.9 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.10 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 78.11 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

          79.     Defendant reincorporates its responses contained in paragraphs one through

   seventy-eight (1-78).

          80.     Defendant denies the allegations contained in paragraph eighty (80) of Plaintiffs’

   Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 80 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 80.1 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                  Defendant denies the allegations contained in paragraph 80.2 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.
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                Defendant denies the allegations contained in paragraph 80.3 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.4 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.5 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.6 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.7 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.8 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.9 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.10 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.11 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.12 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.

                Defendant denies the allegations contained in paragraph 80.13 of Plaintiffs’

   Amended Complaint for want of sufficient knowledge.
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          81.     Defendant denies the allegations contained in paragraph eighty-one (81) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          82.     Defendant denies the allegations contained in paragraph eighty-two (82) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

          83.     Defendant denies the allegations contained in paragraph eighty-three (83) of

   Plaintiffs’ Complaint for want of sufficient knowledge.

                                                 Respectfully Submitted,

                                                 /s/ Earl F. Sundmaker, III
                                                 Attorney for Defendant
                                                 Deutsche Bank National Trust Co.
                                                 The Sundmaker Firm, LLC
                                                 1027 Ninth St.
                                                 New Orleans, LA 701115
                                                 Tel: (504) 568-0515
                                                 Fax: (504) 568-0519
                                                 Email: trey@sundmakerfirm.com

                                   CERTIFICATE OF SERVICE

          I hereby certify that on September 29, 2015, I electronically filed the foregoing Answer

   to Plaintiffs’ Complaint with the Clerk of Court using the CM/ECF system. Copies of this filing

   are being served this same date on all parties or their counsel of record in accordance with

   Fed.R.Bankr.P. and the Local Rules by operation of the court’s electronic filing system or via

   First Class Mail, postage prepaid.

   Electronic Filing through the court’s electronic filing system upon:
   Robin R. DeLeo, Attorney for Plaintiffs
   Email: jennifer@northshoreattorney.com

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   Jane Jackson, Attorney for State of Colorado, Department of Higher Education, Colorado
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                                              /s/ Earl F. Sundmaker, III
                                              Attorney for Defendant
                                              Deutsche Bank National Trust Co.
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